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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

             -against-                                         ORDER

MICHAEL AVENATTI,                                          19 Cr. 373 (PGG)

                          Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the following schedule will apply to

Defendant's pretrial motions:

       1. Any pretrial motions are due by August 19, 2019;

       2. The Government's opposition papers are due by September 19, 2019;

       3. Defendant's reply papers, if any, are due by October 3, 2019.

              It is further ORDERED that trial in this action will commence on

Tuesday, November 12, 2019 at 9:30 a.m. in Courtroom 705 of the Thurgood Marshall

United States Courthouse, 40 Foley Square, New York, New York. Pretrial submissions

- motions in limine, proposed voir di~e, and requests to charge - are due on Friday,

October 11, 2019.

               The next conference in this action will be held on Friday, August 23,

2019 at 12:30 p.m.; this conference will also take place in Courtroom 705.

Dated: New York, New York
       June 18, 2019
                                                    SO ORDERED.



                                                    PaulG~phe
                                                    United States District Judge
